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                                  1
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                                  5

                                  6    Attorneys for Defendant, JAWAD NESHEIWAT
                                  7

                                  8                       UNITED STATES DISTRICT COURT
                                  9
                                        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION (SANTA ANA)
                                  10
                                       BUREAU OF CONSUMER            )         Case No. 8:20-cv-00043-JCS-ADS
                                  11
                                       FINANCIAL PROTECTION,         )
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                                  12                                 )         MEMORANDUM OF POINTS AND
                                          Plaintiff,                 )         AUTHORITIES IN SUPPORT OF
                                  13
                                                                     )         DEFENDANT JAWAD
                                  14      v.                         )         NESHEIWAT’S MOTION TO
                                                                     )         DISMISS AND FOR JUDGMENT
                                  15
                                       CHOU TEAM REALTY LLC, et al., )         ON THE PLEADINGS FOR WANT
                                  16                                 )         OF JURISDICTION UNDER
                                          Defendants.                )         ARTICLE III
                                  17
                                                                     )
                                  18                                 )         [U.S. Const. Art. III; and F.R.Civ.P.
                                                                     )         Rule 12(b)(1) & (c); L.R. 7-3]
                                  19
                                                                     )
                                  20                                 )         * This motion is made following the
                                                                     )           conference of counsel pursuant to L.R.
                                  21
                                                                     )           7-3, which took place on 7/7/20.
                                  22                                 )
                                                                     )                DATE: August 24, 2020
                                  23
                                                                     )                TIME: 1:30 p.m.
                                  24                                 )          COURTROOM: 10-C
                                                                     )         JUDGE: HON. JAMES V. SELNA
                                  25
                                                                     )         TRIAL DATE: July 13, 2021, 8:30 a.m.
                                  26

                                  27       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD
                                        NESHEIWAT’S MOTION TO DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF
                                  28                           JURISDICTION UNDER ARTICLE III
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                                  1
                                                      MEMORANDUM OF POINTS AND AUTHORITIES

                                  2                                 I.     RELIEF REQUESTED
                                  3
                                                Pursuant to the United States Constitution, Article III (“Article III”), Rule
                                  4

                                  5
                                       12(b)(1) & (c) of the Federal Rules of Civil Procedure (“FRCP”), and the United

                                  6    States Supreme Court decision issued on June 29, 2020, in Seila Law LLC v.
                                  7
                                       Consumer Financial Protection Bureau, 591 U.S. ___ (June 29, 2020), 2020 U.S.
                                  8

                                  9
                                       LEXIS 3515 (“Seila Law”), defendant Jawad Nesheiwat (“Nesheiwat”) hereby

                                  10   requests the Court to issue an order dismissing with prejudice the First Amended
                                  11
                                       Complaint1 (ECF No. 117) (“FAC”) or entering judgment on the FAC for want of
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                                  12

                                  13   jurisdiction under Article III. The LEXIS version of the Seila Law opinion is

                                  14   attached to this motion as Exhibit 2. (Decl. of Lepiscopo ¶ 3; Exh. 2.)
                                  15
                                                                          II.    ARGUMENT
                                  16

                                  17   A.       IN LIGHT OF SEILA LAW, THIS COURT HAS AN INDEPENDENT DUTY TO
                                                DETERMINE IF IT HAS ARTICLE III JURISDICTION:
                                  18

                                  19            Federal courts are courts of limited jurisdiction, and parties may not expand
                                  20   that jurisdiction by waiver or consent. See e.g. Matheson v. Progressive Specialty
                                  21
                                       Ins. Co., 319 F.3d 1089, 1090 (9th Cir. 2003) (“Matheson”) (per curiam). Thus,
                                  22

                                  23

                                  24
                                            1  Pursuant to Section J of the Court’s 1/13/20 Initial Order Following Filing
                                  25
                                       of Complaint Assigned to Judge Selna (ECF No. 7), Nesheiwat has attached a copy
                                  26   of the FAC to the instant motion as Exhibit 1, incorporated herein by this reference,
                                       as though fully set forth herein. (Lepiscopo Decl. ¶ 2; Exh. 1.)
                                  27
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD NESHEIWAT’S MOTION TO
                                  28         DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
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                                  1
                                       challenges to subject matter jurisdiction may be raised at any point, including for

                                  2    the first time on appeal. Detabali v. St. Luke’s Hosp., 482 F.3d 1199, 1202 (9th Cir.
                                  3
                                       2007) (“Detabali”). Moreover, even if the parties do not dispute jurisdiction, this
                                  4

                                  5
                                       Court has an independent obligation to assess its own jurisdiction sua sponte.

                                  6    WildEarth Guardians v. EPA, 759 F.3d 1064, 1070 (9th Cir. 2014); Chapman v. Pier
                                  7
                                       1 Imports (U.S.) Inc., 631 F.3d 939, 954 (9th Cir. 2011) (en banc) (“Chapman”).
                                  8

                                  9
                                                Even if this Court does not address the jurisdictional question now, the Ninth

                                  10   Circuit is dutybound to determine whether this Court had Article III subject matter
                                  11
                                       jurisdiction. See e.g. California ex rel. Sacramento Metro. Air Qual. Mgmt. Dist. v.
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                                  12

                                  13   United States, 215 F.3d 1005, 1009 (9th Cir. 2000) (“An appellate court is under a

                                  14   ‘special obligation to satisfy itself not only of its own jurisdiction, but also that of
                                  15
                                       the lower courts in a cause under review, even though the parties are prepared to
                                  16

                                  17   concede it . . . [or] make no contention concerning it.’”) (quoting Axell Int’l, Ltd. v.
                                  18   Intercargo Ins. Co., 183 F.3d 935, 943 (9th Cir. 1999); emphasis added).
                                  19
                                       B.       AUTHORITY FOR MOTION AND SUMMARY OF ARGUMENT:
                                  20

                                  21            Rule 12(b)(1) provides for dismissal of an action for “lack of subject matter
                                  22   jurisdiction.” See FRCP 12(b)(1). A Rule 12(b)(1) motion can challenge the
                                  23
                                       sufficiency of the pleadings to establish jurisdiction (facial attack), or a lack of any
                                  24

                                  25   factual support for subject matter jurisdiction despite the pleading’s sufficiency
                                  26
                                       (factual attack). See e.g. Grondal v. United States, 2012 U.S. Dist. LEXIS 19398, at
                                  27
                                            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD NESHEIWAT’S MOTION TO
                                  28           DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
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                                  1
                                       *11-13 (E.D. Wash. Feb. 16, 2012) (granting motion to dismiss). For a facial attack,

                                  2    all allegations are accepted as true. Id. On the other hand, this Court is not restricted
                                  3
                                       to the four-corners of the FAC and may review whatever evidence is needed in order
                                  4

                                  5
                                       to determine whether it has Article III jurisdiction. See e.g. Assoc. of Am. Med. Coll.

                                  6    v. United States, 217 F.3d 770, 778 (9th Cir. 2000), and McCarthy v. United States,
                                  7
                                       850 F.2d. 558, 560 (9th Cir. 1988).
                                  8

                                  9
                                              Rule 12(c) provides that “after the pleadings are closed, but within such time

                                  10   as not to delay the trial, any party may move for judgment on the pleadings.” See
                                  11
                                       FRCP 12(c). A Rule 12(c) motion challenges the legal sufficiency of the opposing
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                                  12

                                  13   party’s pleadings. Judgment on the pleadings is appropriate when, even if all

                                  14   material facts in the pleading under attack are true, the moving party is entitled to
                                  15
                                       judgment as a matter of law. Hal Roach Studios v. Richard Feiner & Co., 883 F.2d
                                  16

                                  17   1429, 1436 (9th Cir. 1989).
                                  18          Whether raised under Rule 12(b)(1) or 12(c), the Bureau has the burden of
                                  19
                                       establishing Article III jurisdiction in this Action, especially in light of Seila Law.
                                  20

                                  21   See e.g. Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994).
                                  22          Finally, as the FAC may not be maintained by an unconstitutional officer (i.e.,
                                  23
                                       Bureau’s director) acting through an unconstitutional office, and as the FAC is the
                                  24

                                  25   product of the actions of an unconstitutional officer, again, the director, the Court
                                  26
                                       does not have Article III jurisdiction. Specifically, Seila Law makes clear that the
                                  27
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD NESHEIWAT’S MOTION TO
                                  28         DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
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                                  1
                                       director’s actions taken prior to and during this litigation are void ab initio and,

                                  2    therefore, unconstitutional. Accordingly, this Court does not have Article III
                                  3
                                       jurisdiction thereby justifying dismissal of the entire action under Rule 12(b)(1) or
                                  4

                                  5
                                       entry of judgment in favor of defendants under Rule 12(c).

                                  6    C.     IN LIGHT OF SEILA LAW, THIS COURT DOES NOT HAVE ARTICLE III
                                  7
                                              JURISDICTION AND, THEREFORE, SHOULD EXERCISE ITS POWER UNDER
                                              RULE 12(b)(1) TO DISMISS THIS ENTIRE ACTION WITH PREJUDICE OR
                                  8           RULE 12(c) TO ENTER JUDGMENT ON THE FAC IN FAVOR OF
                                  9
                                              DEFENDANTS:

                                  10          This Action was filed by plaintiff Bureau of Consumer Financial Protection
                                  11
                                       (“Bureau”) under the Dodd-Frank Wall Street Reform and Consumer Protection Act
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                                  12

                                  13   (the “Act”), July 21, 2010, P.L. 111-203, § 4, 124 Stat. 1390, codified at 12 United

                                  14   States Code (“U.S.C.”) §§ 5301-5641. (See FAC ¶¶ 1, 8, & 9.)
                                  15
                                              The Act creates the Bureau by way of 12 U.S.C. § 5491(a):
                                  16

                                  17             “There is established in the Federal Reserve System, an
                                                 independent bureau to be known as the ‘Bureau of Consumer
                                  18             Financial Protection’, which shall regulate the offering and
                                  19             provision of consumer financial products or services under the
                                                 Federal consumer financial laws.”
                                  20

                                  21          In addition, the Act attempted to create the office of director (“Director”) as
                                  22   the single leadership position of the Bureau by way of 12 U.S.C. § 5491(b)(1) & (2):
                                  23
                                                 “There is established the position of the Director, who shall serve
                                  24
                                                 as the head of the Bureau. . .the Director shall be appointed by the
                                  25             President, by and with the advice and consent of the Senate.”
                                  26

                                  27
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD NESHEIWAT’S MOTION TO
                                  28         DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
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                                  1
                                              In Seila Law, it was creation of the office of the Director that was declared

                                  2    unconstitutional because it was created in contravention of the Doctrine of
                                  3
                                       Separation of Powers through limiting the President’s Article II powers.
                                  4

                                  5
                                       Specifically, the Act established the term (“Term”) and reasons for removal

                                  6    (“Removal”) of the Director pursuant to 12 U.S.C. § 5491(c)(1) & (3):
                                  7
                                                 “(c) Term.
                                  8                (1) In general. The Director shall serve for a term of 5 years. . .
                                  9
                                                   (3) Removal for cause. The President may remove the Director for
                                                 inefficiency, neglect of duty, or malfeasance in office.”
                                  10

                                  11           Through the Term and Removal clauses, § 5491(c)(1) & (3), the Supreme
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                                  12   Court declared the office of Director and the officer (i.e., the Director) appointed
                                  13
                                       thereby unconstitutional under the Doctrine of Separation of Powers:
                                  14

                                  15             “We hold that the CFPB’s leadership by a single individual
                                                 removable only for inefficiency, neglect, or malfeasance violates
                                  16             the separation of powers.”
                                  17
                                       Seila Law, supra, at *25.
                                  18

                                  19          The Supreme Court noted that the Bureau was an “independent agency led by
                                  20   a single Director and vested with significant executive power.” And that such “an
                                  21
                                       agency has no basis in history and no place in our constitutional structure.” Id. at *34.
                                  22

                                  23          In addition, in Seila Law, the Supreme Court cited The Federalist No. 58,
                                  24
                                       wherein James Madison discussed the principles underlying the Doctrine of
                                  25
                                       Separation of Powers:
                                  26

                                  27
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD NESHEIWAT’S MOTION TO
                                  28         DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
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                                  1
                                              “The CFPB’s single-Director structure contravenes this carefully
                                              calibrated system by vesting significant governmental power in the
                                  2           hands of a single individual accountable to no one. The Director is
                                  3
                                              neither elected by the people nor meaningfully controlled (through the
                                              threat of removal) by someone who is. The Director does not even
                                  4           depend on Congress for annual appropriations. See The Federalist No.
                                  5
                                              58, at 394 (J. Madison) (describing the ‘power over the purse’ as the
                                              ‘most compleat and effectual weapon’ in representing the interests of
                                  6           the people). Yet the Director may unilaterally, without meaningful
                                  7
                                              supervision, issue final regulations, oversee adjudications, set
                                              enforcement priorities, initiate prosecutions, and determine what
                                  8           penalties to impose on private parties. With no colleagues to
                                  9
                                              persuade, and no boss or electorate looking over her shoulder, the
                                              Director may dictate and enforce policy for a vital segment of the
                                  10          economy affecting millions of Americans.
                                  11
                                              The CFPB Director’s insulation from removal by an accountable
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                                  12          President is enough to render the agency’s structure
                                  13          unconstitutional.”

                                  14   Seila Law, supra, at *41 - *42 (emphasis in original and added).
                                  15
                                              Further, in Seila Law, the Supreme Court provided a stark example and
                                  16

                                  17   analysis on how Congress created an unconstitutional executive branch officer—the
                                  18   Director—who would be unaccountable and would not serve under the control or at
                                  19
                                       the pleasure of the President:
                                  20

                                  21          “Because the CFPB is headed by a single Director with a five-year term,
                                              some Presidents may not have any opportunity to shape its leadership
                                  22          and thereby influence its activities. A President elected in 2020 would
                                  23          likely not appoint a CFPB Director until 2023, and a President elected
                                              in 2028 may never appoint one. That means an unlucky President might
                                  24
                                              get elected on a consumer-protection platform and enter office only to
                                  25          find herself saddled with a holdover Director from a competing political
                                              party who is dead set against that agenda. To make matters worse, the
                                  26
                                              agency’s single-Director structure means the President will not have the
                                  27
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD NESHEIWAT’S MOTION TO
                                  28         DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
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                                  1
                                              opportunity to appoint any other leaders—such as a chair or fellow
                                              members of a Commission or Board—who can serve as a check on the
                                  2           Director’s authority and help bring the agency in line with the
                                  3
                                              President’s preferred policies.”

                                  4    Seila Law, supra, at *42.
                                  5
                                              It is important to note that in Seila Law the Court specifically held that the
                                  6

                                  7
                                       type of actions exercised by the Director in this Action were executive powers:

                                  8           “Finally, the Director’s enforcement authority includes the power to
                                  9
                                              seek daunting monetary penalties against private parties on behalf
                                              of the United States in federal court—a quintessentially executive
                                  10          power. . . Everyone agrees the CFPB Director is not an inferior officer,
                                  11          and her duties are far from limited. Unlike the independent counsel,
                                              who lacked policymaking or administrative authority, the Director has
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                                  12          the sole responsibility to administer 19 separate consumer-protection
                                  13          statutes that cover everything from credit cards and car payments to
                                              mortgages and student loans.”
                                  14

                                  15   Seila Law, supra, at *33-34 (emphasis added). In addition, in Seila Law the Supreme

                                  16   Court specifically identified student loans, which is the subject matter of the
                                  17
                                       Director’s actions in this Action, as outlined below. Id.
                                  18

                                  19          As mentioned above and in Seila Law, under the Act the Director has
                                  20   Executive Branch powers to issue civil investigative demands (“CID”),
                                  21
                                       interrogatories, and demands production of documents, conduct investigative
                                  22

                                  23   hearings of prospective defendants, and initiate civil actions in federal court. Seila
                                  24
                                       Law, supra, at *15 & 33. In this Action, the Director has exercised these Executive
                                  25
                                       Branch powers by issuing CIDs to Mr. Nesheiwat and other defendants, serving
                                  26

                                  27
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD NESHEIWAT’S MOTION TO
                                  28         DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
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                                  1
                                       interrogatories and requests for documents, ordering Mr. Nesheiwat and other

                                  2    defendants to attend investigative hearings and provide testimony under oath, and
                                  3
                                       initiating the instant Action (collectively “Director’s Actions”). Accordingly, the
                                  4

                                  5
                                       filing of and all information alleged in the FAC (ECF No. 117) and the testimony

                                  6    and evidence gathered in this Action were done by and through the Director’s
                                  7
                                       Actions (Decl. of Lepiscopo ¶5), all of which are unconstitutional under Seila Law.
                                  8

                                  9
                                              During the July 7, 2020 meet and confer, the Bureau disclosed that as of that

                                  10   date, the Director had not ratified the initiation and prosecution of this Action. (Decl.
                                  11
                                       of Lepiscopo ¶ 4.) On July 10, 2020, the Director issued a ratification of prior
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                                  12

                                  13   regulatory actions, 85 FR 41330-41331 (July 10, 2020) (“Regulatory Ratification”).

                                  14   However, the Director’s Regulatory Ratification does not include or ratify the
                                  15
                                       initiation and prosecution of this Action or any other pending civil action, all of
                                  16

                                  17   which were specifically excluded from the Regulatory Ratification (Exh. 3).2
                                  18          Finally, it is important to note that the Director’s Actions cannot be
                                  19
                                       constitutionally ratified post facto or given effect because their origins emanate from
                                  20

                                  21

                                  22
                                          2     See https://www.govinfo.gov/content/pkg/FR-2020-07-10/pdf/FR-2020-07-
                                  23
                                       10.pdf (see Request for Judicial Notice; Decl. of Lepiscopo ¶ 6; Exh. 3, p. 41330,
                                  24   Article III. Ratification, Sections 1-6; Article IV, p. 41331, specifically excludes this
                                       Action and other enforcement actions from the Regulatory Ratification: “The Bureau
                                  25
                                       is considering whether ratifications of certain other legally significant actions by the
                                  26   Bureau, such as certain pending enforcement actions, are appropriate. Where that
                                       is the case, the Bureau is making such ratifications separately.”)
                                  27
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD NESHEIWAT’S MOTION TO
                                  28         DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
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                                  1
                                        an unconstitutional officer, the Director, occupying an unconstitutional office. See

                                  2     e.g. FEC v. NRA Political Victory Fund, 6 F.3d 821, 822 (D.C. Cir. 1993) (“NRA”);
                                  3
                                        Free Enterprise Fund v. PCOAOB, 561 U.S. 477, 513 (2010) (“Free Enterprise”);
                                  4

                                  5
                                        FEC v. NRA Political Victory Fund, 513 U.S. 88, 98 (1994) (“FEC”). Thus, pursuant

                                  6     to these decisions and Seila Law, this Court is constrained to declaring the Director’s
                                  7
                                        Action void ab initio and, therefore, unconstitutional because they were taken by an
                                  8

                                  9
                                        unconstitutional officer through an unconstitutional office of the Executive Branch

                                  10    with absolutely no constitutional authority to act. Seila Law, supra at *33 & 41-42.
                                  11
                                        Accordingly, this Court should find the FAC to be void and non-actionable.
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                                  12

                                  13                                    III.    CONCLUSION

                                  14          Based on the forgoing, this Court does not have Article III jurisdiction thereby

                                  15    requiring this Court to dismiss this Action or enter judgment in favor of defendants
                                  16
                                        on the FAC because it is the unconstitutional product of the Director’s Actions. U.S.
                                  17

                                  18    CONST. ART. III; Seila Law, NRA, Free Enterprise, and FEC, supra; FRCP §
                                  19    12(b)(1) & (c).
                                  20
                                        Dated: July 13, 2020.                     LEPISCOPO & ASSOCIATES LAW FIRM
                                  21

                                  22                                              By: /s/ Peter D. Lepiscopo_______
                                                                                        PETER D. LEPISCOPO
                                  23                                                      Counsel of Record
                                  24                                                    Attorneys for Defendant, JAWAD
                                                                                        NESHEIWAT
                                  25

                                  26

                                  27
                                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT JAWAD NESHEIWAT’S MOTION TO
                                  28         DISMISS AND FOR JUDGMENT ON THE PLEADINGS FOR WANT OF JURISDICTION UNDER ARTICLE III
                                                                                     9
